                             UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION
                                   NO. 5:14-CR-240-BR


UNITED STATES OF AMERICA                          )
                                                  )
                 v.                               )     ORDER
                                                  )
WILLIAM SCOTT DAVIS, JR.                          )
                                                  )



        This matter is before the court on defendant’s recent pro se filings.

        This case has a lengthy history. On 15 October 2014, defendant was indicted on three counts

of cyberstalking and three counts of transmitting threatening communications. The case was

assigned to Senior U.S. District Judge James C. Fox. The Office of the Federal Public Defender was

appointed to represent defendant. On 30 October 2014, the court entered a scheduling order,

directing that all pretrial motions be filed no later than 3 December 2014 and set arraignment for the

court’s 5 January 2015 term. Defendant moved to continue arraignment, which motion was allowed,

and arraignment was continued to 9 March 2015.

        On 30 January 2015, defense counsel moved (1) for a determination of defendant’s mental

competency to stand trial pursuant to 18 U.S.C. § 4241 and (2) to reopen and extend the period for

filing pretrial motions to 6 February 2015. The motions were allowed. On 2 February 2015,

defendant filed a notice of insanity defense. On 4 March 2015, the government filed a motion for a

psychiatric examination to determine whether defendant was competent at the time of the alleged

offenses under § 4242. That motion was allowed. After obtaining extensions of time to complete

both evaluations, the Bureau of Prisons filed the psychiatric report on 1 June 2015. The competency




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hearing and arraignment were set for 4 August 2015. On the government’s unopposed motion, the

court continued the competency hearing and arraignment to the court’s 2 November 2015 term.

        In the meantime, defendant filed a number of pro se motions, including motions for recusal of

Judge Fox. At a hearing on 17 August 2015, Judge Fox denied the motions for recusal and allowed

defense counsel’s oral motion to withdraw. On 19 August 2015, Sean Vitrano, Esquire was

appointed to represent defendant. During the ensuing month, Vitrano moved to withdraw his

representation, and defendant filed pro se multiple motions, including motions for the withdrawal of

Vitrano and the appointment of new counsel. On 14 October 2015, the case was reassigned to the

undersigned.

        At the 2 November 2015 competency hearing, the court denied all of defendant’s pending pro

se motions, and subsequently, on defense counsel’s request, ordered a second psychiatric or

psychological examination of defendant. Defendant continued to file pro se voluminous motions and

other documents. Because defendant was represented by counsel, the court denied all those motions,

with the exception of those for the appointment of new counsel, and directed the Clerk to terminate

any future motion defendant files pro se other than a motion for appointment of new counsel.

        On 2 February 2016, the court continued holding the competency hearing, at which the court

found defendant was incompetent to stand trial. Defendant appealed. In the meantime, defendant

continued to file pro se multiple motions pertaining the appointment of counsel, among other things.

Because defendant continued to be represented by counsel and because the issue of appointment of

new counsel remained for review, the court directed the Clerk to terminate any future motion

defendant filed pro se.




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        On 8 August 2016, the court received from the Bureau of Prisons a Certificate of Restoration

of Competency to Stand Trial and then set the matter for hearing on 29 August 2016 pursuant to 18

U.S.C. § 4247(d). During that hearing, the court continued the hearing pending the resolution of

defendant’s appeal of the court’s order finding him incompetent to stand trial. Also, on defendant’s

unopposed motion, the court ordered that defendant remain hospitalized at FMC-Butner to permit him

to undergo cataract surgery on both eyes.

        On 1 November 2016, the grand jury returned a superseding indictment against defendant; the

charges remained the same. Shortly thereafter, defendant again and without objection from the

government moved to extend his hospitalization at FMC-Butner until such time as defendant

underwent cataract surgery and medical staff certified that it is medically appropriate to return him to

the custody of the U.S. Marshal Service. The court allowed the motion.

        On 5 January 2017, the Fourth Circuit Court of Appeals vacated the court’s order finding

defendant mentally incompetent to stand trial and remanded with instructions that the court conduct a

new competency hearing. After the mandate issued, the court set the competency hearing for 27

February 2017. On defendant’s unopposed motion, the court continued the competency hearing to

enable a neuropsychologist to evaluate defendant. On defendant’s motion, the court twice continued

the competency hearing to enable defendant to undergo cataract surgery on his left eye (having

already had surgery on his right eye). On 5 June 2017, the court held the competency hearing and

found defendant competent to proceed. The court also permitted defense counsel to withdraw,

directed the Federal Public Defender to appoint new counsel, and set arraignment and trial for 10 July

2017. Thomas Manning, Esquire was appointed to represent defendant. Twice, on defense




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counsel’s unopposed motion, and because defense counsel needed additional time to meet with

defendant, prepare, and engage in plea negotiations, the court continued arraignment and trial.

        In the meantime, on 6 August 2017, defendant moved for an order directing the Bureau of

Prisons to recommence defendant’s eye treatment. The court directed the U.S. Marshal Service to

consult with physicians at FMC-Butner about what additional treatment for defendant is available and

recommended and directed that a report be filed with the court. The report from the Bureau of

Prisons was filed on 28 August 2017 and indicated that while defendant could benefit from additional

eye procedures, none were considered medically necessary.

        In September 2017, defendant filed pro se a motion to appoint new counsel. On 11 October

2017, the court held a hearing on that motion, and defendant withdrew the motion. Defendant plead

not guilty to all charges in the superseding indictment, and the court set trial for 11 December 2017.

        On 6 November 2017, defendant filed pro se a notice that he chose to represent himself and

requested a hearing thereon. On 7 November 2017, the grand jury returned a second superseding

indictment against defendant; the charges remained the same as in the initial and superseding

indictments. On 20 November 2017, defendant appeared before the court at which time the court

conducted defendant’s initial appearance on the second superseding indictment. Defendant plead not

guilty to all charges. The court then allowed defendant to represent himself and appointed Manning

as standby counsel.

        Since that time, defendant has filed pro se numerous documents and motions which are

presently before the court. Many of the motions are repetitive, nonsensical, and/or illegible. More

importantly, they are all untimely. The deadline for filing pretrial motions long ago passed, and it is

the eve of trial. The court has gone to great lengths to accommodate defendant’s requests regarding


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court appointed counsel, and in fact, most recently appointed one of the leading defense lawyers in the

state. The court has made defendant fully aware of the hazards and disadvantages of representing

himself. Defendant must accept the consequences of his decision to represent himself, particularly in

light of the fact that he did so on the eve of trial. The court will not consider defendant’s motions,

other than, in its discretion, to deny defendant’s requests for continuance of trial. Defendant’s

motions are DENIED.

        This 1 December 2017.




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                                                    W. Earl Britt
                                                    Senior U.S. District Judge




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